     Case 3:19-md-02885-MCR-HTC Document 3080 Filed 05/06/22 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                              Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                    Judge M. Casey Rodgers
 This Document Relates to All Cases                 Magistrate Judge Gary R. Jones


                       CASE MANAGEMENT ORDER NO. 46
                        Plaintiff Leadership Reappointments

       In accordance with Case Management Order No. 43, and having carefully

considered the submissions of plaintiffs’ counsel, the Court hereby reappoints the

following leadership team to continue fairly, effectively, and efficiently representing

the interests of all plaintiffs in this litigation. 1

A.     Plaintiff Leadership Team

       1.     Lead

Bryan Aylstock, Lead
Shelley Hutson, Co-Lead
Chris Seeger, Co-Lead

       2.     Co-Liaison Counsel

Brian Barr
Mike Burns



       1
          All attorneys who reapplied were reappointed; only two attorneys did not reapply.
Several additions to the team were made based on the current demands of the litigation and in
recognition of those attorneys’ meaningful contributions while serving in non-leadership roles.
    Case 3:19-md-02885-MCR-HTC Document 3080 Filed 05/06/22 Page 2 of 4

                                                                                    Page 2 of 4


       3.     Executive Committee 2

 Evan Buxner                                     Paul Pennock
 Thomas Cartmell                                 Tom Pirtle
 Roberto Martinez                                Sean Tracey
 Doug Monsour                                    Adam Wolfson


       4.     Steering Committee

 Dave Buchanan, Co-Chair                         Bradley Honnold
 Elizabeth Burke, Co-Chair                       Rachel Lanier
 Karen Beyea-Schroeder                           Ruth Rizkalla
 Katherine Cornell                               Michael Sacchet
 Sindhu Daniel                                   Mikal Watts
 W. Lewis Garrison, Jr.                          Renee Finch
 Justin Parafinczuk                              Robert Cowan
 Mark Robinson                                   David Bryant
 Mike Moreland                                   Virginia Anello


       5.     Common Benefit Fund Committee

 Shelley Hutson, Chair                           Chris Hellums
 Riley Burnett                                   Roberto Martinez


       6.     Discovery & ESI Subcommittee

 Dave Buchanan, Chair                            Nix Daniel
 Taylor Bartlett                                 Jennifer Hoekstra
 Katherine Charonko




       2
          As set forth in Pretrial Order No. 7, Lead Counsel chairs the Executive Committee, and
Co-Lead and Co-Liaison Counsels serve as members of the Executive Committee. See ECF No.
376 at 2.


Case No. 3:19md2885/MCR/GRJ
   Case 3:19-md-02885-MCR-HTC Document 3080 Filed 05/06/22 Page 3 of 4

                                                                Page 3 of 4


     7.    Early Vetting Subcommittee

Rachel Lanier, Chair                  Abby McClellan
Elizabeth Burke                       Erin Rogiers
Kenny Byrd                            Sara Schram


     8.    Law & Briefing Subcommittee

Michael Sacchet, Chair                Andre Mura
Nicole Berg                           Lauren Calvert
Caleb Seeley


     9.    Science & Experts Subcommittee

Doug Monsour, Chair                   Tom Pirtle
Doug Kreis                            Kimberly White


     10.   Joint Armed Services Committee

Karen Beyea-Schroeder                 Kristian Rasmussen


     11.   Joint Statute of Limitations Committee

Palmer Lambert
Troy Bouk


     12.   Joint Settlement Committee

Chris Seeger, Chair                   Clayton Clark
Bryan Aylstock                        Ernie Cory




Case No. 3:19md2885/MCR/GRJ
     Case 3:19-md-02885-MCR-HTC Document 3080 Filed 05/06/22 Page 4 of 4

                                                                            Page 4 of 4


B.     Leadership Structure and Responsibilities

       Plaintiffs’ leadership will continue to have the responsibilities assigned to

their respective positions in Pretrial Order No. 4, ECF No. 76, as well as the general

obligations set forth in Pretrial Order No. 7, ECF No. 376.

C.     Term of Appointments

       All appointments are made for an approximate one-year period and will expire

on May 31, 2023. A schedule for applying for reappointment at the end of this term

will be established at an appropriate time in advance of the expiration date.

       SO ORDERED, on this 6th day of May, 2022.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




Case No. 3:19md2885/MCR/GRJ
